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Approved.
/s/ Benita Y. Pearson on 7/22/2021
United States District Judge       IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF OHIO
                                             EASTERN DIVISION


       DEREK MORTLAND,                                     :
                                                           :
                       Plaintiff,                          :
                                                           :      Case No. 4:20-cv-01973-BYP
               v.                                          :
                                                           :
       SIDHU BROTHERS, LLC,                                :
                                                           :      JUDGE BENITA Y. PEARSON
                       Defendant.                          :
                                                           :

                                 STIPULATION OF DISMISSAL WITH PREJUDICE

               NOW COME Plaintiff, Derek Mortland (“Plaintiff”), and Defendant, Sidhu Brothers, LLC

       “Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and hereby stipulate to the

       dismissal of this case in its entirety and with prejudice. Plaintiff and Defendant further stipulate that all

       claims asserted in this case are dismissed in their entirety and with prejudice. Plaintiff and Defendant

       further stipulate that they shall bear their own costs, expenses and fees including, but not limited to,

       attorneys’ fees. Therefore, the case should be dismissed with prejudice, with each party bearing its own

       costs, expenses and fees, including, but not limited to, attorneys’ fees. The Court shall retain jurisdiction

       over any claims or disputes arising from or relating to any agreement resolving this matter.

       Respectfully submitted,



       /s/ Colin G. Meeker                                     /s/ John W. Hofstetter
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